       Case 2:14-cr-00199-JAM Document 21 Filed 11/17/14 Page 1 of 2


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    DOUGLAS J. BEEVERS, #288639
     Assistant Federal Defender
3    Designated Counsel for Service
     801 “I” Street, 3rd Floor
4    Sacramento, CA 95814
5    Attorney for Defendant
     CARLOS CORTEZ
6
7
                              IN THE UNITED STATES DISTRICT COURT
8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,                    )   NO. 2:14-cr-199 JAM
11                                                )
                           Plaintiff,             )   AMENDED STIPULATION AND ORDER
12                                                )   TO CONTINUE STATUS CONFERENCE
            v.                                    )
13                                                )   DATE: January 6, 2015
     CARLOS CORTEZ,                               )   TIME: 9:30 a.m.
14                                                )   JUDGE: Hon. John A. Mendez
                           Defendants.            )
15                                                )
16
            IT IS HEREBY STIPULATED by and between the parties hereto through their
17
     respective counsel, OLUSERE OLOWOYEYE, Assistant United States Attorney, attorney for
18
     Plaintiff, DOUGLAS BEEVERS, attorney for defendant CARLOS CORTEZ, and ERIN
19
     RADEKIN, attorney for defendant ISMAEL RAMERIZ that the status conference hearing date
20
     of November 18, 2014 be vacated, and the matter be set for status conference on January 6, 2015
21
     at 9:30 a.m.
22
             The reason for this continuance is that counsel for defendant, CARLOS CORTEZ is
23
     currently in trial for another case (U.S. v Peel, 2:14-cr-192-GEB).
24
            Based upon the foregoing, the parties agree that the time under the Speedy Trial Act
25
     should be excluded from the date of signing of this order through and including
26
     January 6, 2015 pursuant to 18 U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare]
27
     and Local Code T4 based upon continuity of counsel and defense preparation.
28

     !Unexpected End of Formula                       -1-
      Stipulation and Proposed Order
       Case 2:14-cr-00199-JAM Document 21 Filed 11/17/14 Page 2 of 2


1    Dated: November 14, 2014                             Respectfully submitted,
2                                                         HEATHER E. WILLIAMS
                                                          Federal Defender
3
                                                          /s/ Douglas Beevers
4                                                         DOUGLAS BEEVERS
                                                          Assistant Federal Defender
5                                                         Attorney for Defendant
                                                          CARLOS CORTEZ
6
     Dated: November 14, 2014                             /s/ Douglas Beevers for
7                                                         ERIN RADEKIN
                                                          Attorney for Defendant
8                                                         ISMAEL RAMIRIZ
9    Dated: November 14, 2014                             BENJAMIN B. WAGNER
                                                          United States Attorney
10
                                                          /s/ Douglas Beevers for
11                                                        OLUSERE OLOWOYEYE
                                                          Assistant United States Attorney
12                                                        Attorney for Plaintiff
13
14                                             ORDER
15          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
16   November 18, 2014 status conference hearing be continued to January 6, 2015, at 9:30 a.m.
17   Based on the representation of defense counsel and good cause appearing there from, the Court
18   hereby finds that the failure to grant a continuance in this case would deny defense counsel
19   reasonable time necessary for effective preparation, taking into account the exercise of due
20   diligence. The Court finds that the ends of justice to be served by granting a continuance
21   outweigh the best interests of the public and the defendant in a speedy trial. It is ordered that
22   time up to and including the January 6, 2015 status conference shall be excluded from
23   computation of time within which the trial of this matter must be commenced under the Speedy
24   Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4, to allow
25   defense counsel reasonable time to prepare.
26   IT IS SO ORDERED.
27
     DATED: _11/14/2014                                   /s/ John A. Mendez_______
28                                                        HON. JOHN A. MENDEZ

     !Unexpected End of Formula                     -2-
      Stipulation and Proposed Order
